Case: 4:22-mc-00770-JAR Doc. #: 2-4 Filed: 09/08/22 Page: 1 of 4 PageID #: 62




                               Exhibit 4

                Affidavit of Jason M. Craig
 Case: 4:22-mc-00770-JAR Doc. #: 2-4 Filed: 09/08/22 Page: 2 of 4 PageID #: 63




                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF MISSOURI

ASPIRE RESOURCES INC. and IOWA
STUDENT LOAN LIQUIDITY
CORPORATION,                                        CASE NO. ___________________

              Claimants,

v.
                                                    AFFIDAVIT OF JASON M. CRAIG
HIGHER EDUCATION LOAN
AUTHORITY OF THE STATE OF
MISSOURI (“MOHELA”),

              Respondent.


STATE OF IOWA  )
               ) ss.
COUNTY OF POLK )

       I, Jason M. Craig, being first duly sworn on oath, depose and state the following:

       1.     I am an attorney for the Claimants, Aspire Resources Inc. (“Aspire”) and Iowa

Student Loan Liquidity Corporation (“Iowa Student Loan”).

       2.     Iowa Student Loan is a non-profit corporation located in West Des Moines, Iowa.

       3.     Aspire is a for-profit corporation located in West Des Moines, Iowa and is a wholly-

owned subsidiary of Iowa Student Loan.

       4.     I represented Aspire and Iowa Student Loan in an arbitration before the American

Arbitration Association against Respondent Higher Education Loan Authority of the State of

Missouri (“MOHELA”), AAA Case No. 01-20-0010-1101.

       5.     MOHELA is a “public instrumentality” and “body politic and corporate” of the

State of Missouri which was created by the General Assembly of the State of Missouri in 1981

pursuant to RSMo. § 173.360. MOHELA’s headquarters are located in Chesterfield, Missouri.



                                                1
 Case: 4:22-mc-00770-JAR Doc. #: 2-4 Filed: 09/08/22 Page: 3 of 4 PageID #: 64




       6.       In the arbitration proceeding, Aspire and Iowa Student Loan alleged that MOHELA

was in breach of two contracts each entitled “Agreement for Teaming Arrangement” that Aspire

and Iowa Student Loan had entered into with MOHELA.

       7.       The document attached as Exhibit 1 to the Application to Confirm Arbitration

Award is a true and correct copy (redacted) of an Agreement for Teaming Arrangement dated June

11, 2015, between Aspire and MOHELA.

       8.       The document attached as Exhibit 2 to the Application to Confirm Arbitration

Award is a true and correct copy (redacted) of an Agreement for Teaming Arrangement dated June

11, 2015, between Iowa Student Loan and MOHELA.

       9.       On September 10, 2021, the arbitration panel entered its final award. The document

attached as Exhibit 3 to the Application to Confirm Arbitration Award is a true and correct copy

of the award.

       10.      MOHELA has not filed a motion to vacate, modify, or correct the award.




                [Remainder of page intentional left blank; signature page to follow]




                                                 2
Case: 4:22-mc-00770-JAR Doc. #: 2-4 Filed: 09/08/22 Page: 4 of 4 PageID #: 65




                                                             1707)
                                             AHLERS & COONEY, P.C.

                                             Des Moines, Iowa 50309-2231
                                             Telephone: 515 1243-7 6ll
                                             Facsimile: 515 1243-2149
                                             E-mail   :
                                                   jcraig@ahlerslaw. com
                                             ATTORNEY FOR CLAIMANTS ASPIRE
                                             RESOURCES INC. AND IOWA
                                             STUDENT LOAN LIQUIDITY
                                             CORPORATION


    Subscribed   to and sworn before me by   Jason    M. Craig on this   C   *+'   day of

                              2022



                                                      ,e
                                     Notary Public, State of Iowa



    #      AN N E E. STOKELV
                         70fn5
          Commission Numb€r
            My




                                        J
